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                                                 November 21, 2022

VIA CM/ECF

David J. Smith, Clerk of Court
U.S. Court of Appeals for the Eleventh Circuit
56 Forsyth St., N.W.
Atlanta, Georgia 30303

           Re:       Cherri Walker v. Life Insurance Company of North America,
                     Case No.: 21-12493
                     Response to Citation of Supplemental Authority

Dear Mr. Smith:

      Pursuant to Federal Rule of Appellate Procedure 28(j), Life Insurance Company of North
America provides the following response to Appellant’s Citation to Supplemental Authorities.

        Appellant’s Citation to Supplemental Authorities quotes extensively from Blackburn v.
Shire US Inc., 18 F.4th 1310 (11th Cir. 2021), a case decided almost a year ago. The case does
not set forth a rule to “follow” in this appeal as Appellant suggests. Rather, it provides an
example of a proper use of the certification procedure. As the Court noted, it certified a question
to ask the Supreme Court of Alabama to address whether a certain claim was “viable.”
Blackburn v. Shire U.S., Inc., No. 20-12258, 2022 WL 16729466, at *1 (11th Cir. Nov. 7, 2022).
Certifying a question regarding whether a claim was “viable” was consistent with the Alabama
Rules of Appellate Procedure, which permit certification of questions that “are determinative of
said cause.” Ala. R. of App. P. 18. Here, by contrast, and as explained more fully in Appellee’s
Response Brief,1 the availability of mental anguish damages is not determinative of either the
case or the breach of contract claim.

       Further, federal courts may certify questions when “there are no clear controlling
precedents in the decisions of the Supreme Court [of Alabama].” Blackburn, 18 F.4th at 1322
(quoting ALA. R. APP. P. 18(a)). But the Supreme Court of Alabama has already addressed the
question on which Appellant seeks certification in Sanford v. W. Life Ins. Co., 368 So. 2d 260
(Ala. 1979). The Court, therefore, should not certify any question to the Alabama Supreme
Court.

                                                                  Sincerely,

                                                                  /s/ John Little

                                                                  John A. Little



1
    Appellee Brief at 30.


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